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FoR THE wEsTERN oisTRlcT oF TENNEss§,§» . §
EAsTERN olvlsloN GYE§§F SSDH§§ or

WOOD M. DEMING, M.D., REGIONAL
CARD|OLOGY CONSULTANTS, P.C.,

Plainfiffs,

VS. NO. 1-05-1032-T
JACKSON-MADISON COUNTY GENERAL
HOSP|TAL DlSTR|CT; WEST TENNESSEE
HEALTHCARE, lNC.; DEAN CURRIE, M.D.;
JAMES ELLIS, M.D.; JOHN MATTHEWS,
M.D.; SHAWN lSAEFF, M.D.; JOHN BAKER,
M.D.; CHARLES HERTZ, M.D.; R. PAUL
CAUD|LL, JR., M.D.; JAMES MOSS;
CURR|E SANDERS; AMER|CAN MED|CO-
LEGAL FOUNDAT|ON, lNC.;
CHR|STOP|'IER CATES, M.D.; JOSEPH
GARAS|C, M.D.; AND KHUSROW A. K.
NlAZl, M.D.,

vvvvvvvvvvv~wvvvvvvv~

Defendants.

 

ORDER GRANT|NG DEFENDANTS’ MOT|ON TO EXCEED THE PAGE L|MITAT|ONS
FOR MEMORANDA lN SUPPORT OF MOT!ONS

 

This cause came to be heard on the Motion of Defendants to exceed the page
limitations for memoranda in support of motions as set forth in Rule LR 7.2(e) of the
Loca| Ruies of the United States District Court for the Western District of Tennessee,
and the entire record in this cause, from all of which the Court finds that the motion is
well-taken and should be granted.

|T |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that Defendants

This document entered on the docket asst in compliance
with Fiu|e 58 and/or 79 (a) FRCP on

301

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be allowed to H|e a memorandum of law not to exceed eighty (80)l pages in support of

their intended motion to dismiss and/or for summary judgment.

QQ/MZ)~M

U. S. STR|CT COURT JUDGE

anM/u.¢ ¢QJ-OS’

Date V 0 '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 1:05-CV-01032 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

ESSEE

 

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson7 TN 38302--114

Anthony Charles Pietrangelo
PIETRANGELO COOK

64 1 0 Poplar

Ste. 190

1\/lemphis7 TN 38119

Jerry D. Kizer

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson7 TN 38302--114

Patrick Wayne Rogers

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson7 TN 38302--114

Honorable J ames Todd
US DISTRICT COURT

